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                       IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

IN RE:                                           )
                                                 )
Reagor-Dykes Motors, LP, et al.                  )      Case No. 18-50214-rlj-11
                                                 )      Jointly Administered
         Debtors,                                )
                                                 )
                                                 )
Reagor-Dykes Motors, LP,                         )
Reagor-Dykes Imports, LP,                        )
Reagor-Dykes Amarillo, LP,                       )      Adversary Proceeding
Reagor-Dykes Auto Company, LP,                   )      No.: 20-05005-rlj
Reagor-Dykes Plainview, LP, and                  )
Reagor-Dykes Floydada, LP,                       )
Reagor Auto Mall, Ltd.,                          )
Reagor-Dykes Snyder, L.P.,                       )
Reagor-Dykes Auto Mall I LLC,                    )
Reagor-Dykes II LLC,                             )
Reagor-Dykes III LLC,                            )
                                                 )
         Plaintiffs,                             )
vs.                                              )
                                                 )
Ford Motor Credit Company LLC,                   )
                                                 )
         Defendant.                              )

             DEFENDANT FORD MOTOR CREDIT COMPANY LLC’S
      BRIEF IN SUPPORT OF MOTION TO DISMISS DEBTORS’ COMPLAINT

                                                 Respectfully submitted,

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                                       I.   INTRODUCTION

         Defendant Ford Motor Credit Company LLC (“Ford Credit”) moves, pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure and Bankruptcy Rule 7012(b), for an Order

dismissing, with prejudice, each and every cause of action alleged in Debtors’ Adversary

Complaint.1 Each alleged cause of action fails to state a plausible claim, and Debtors cannot cure

that failure because their claims are barred as a matter of both law and equity.

         In late June 2018, Ford Credit discovered a massive floorplan financing fraud committed

by the Debtors against Ford Credit, involving the operations of six automobile dealerships that

Debtors collectively owned and controlled (the “Dealerships”). 2         Ford Credit immediately

suspended the Dealerships’ floorplan financing to prevent further losses and Debtors filed for

bankruptcy. At that time, they owed Ford Credit in excess of $116 million.

         The publicly-reported results of an FBI investigation have since confirmed that Ford Credit

was the primary victim of the massive fraud perpetrated by Debtors themselves. Ford Credit has

suffered proven losses in excess of $45 million as a result of Debtors’ fraud, which is the worst

loss suffered by any one of Debtors’ creditors – by a wide margin. Now, however, Debtors attempt

to shift blame for their own fraud against Ford Credit to Ford Credit. Their baseless claims seek

to require Ford Credit to return to Debtors’ bankruptcy estate over $315 million in proceeds

Debtors paid to Ford Credit, both as a result of the Dealerships’ sales of Ford Credit’s secured

collateral and as lien payoffs on vehicles that Debtors’ customers traded in to the Dealerships.

And, as a part of their effort to victimize Ford Credit yet again, Debtors also seek to subrogate or


1
       “Debtors” refers collectively to Reagor-Dykes Motors, LP, Reagor-Dykes Imports, LP, Reagor-
Dykes Amarillo, LP, Reagor-Dykes Auto Company, LP, Reagor-Dykes Plainview, LP, Reagor-Dykes
Floydada, LP, Reagor Auto Mall, Ltd., Reagor-Dykes Snyder, L.P., Reagor-Dykes Auto Mall I LLC,
Reagor-Dykes II LLC, and Reagor-Dykes III LLC.
2
       The “Dealerships” were Reagor-Dykes Motors, Reagor-Dykes Imports, Reagor-Dykes Amarillo,
Reagor-Dykes Auto Company, Reagor-Dykes Floydada, and Reagor-Dykes Plainview.
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deny Ford Credit’s claims in Debtors’ bankruptcy proceedings, effectively making Debtors

themselves the primary beneficiaries of any amounts paid back into their estates.

         Neither the law nor equity permits that absurd result. As a matter of law, Debtors’

payments to Ford Credit, as a secured creditor (which held a first-priority, properly perfected

security interest in its collateral and the proceeds of that collateral), cannot support any of Debtors’

claims. Instead, all of Debtors’ claims are barred as a matter of law, inadequately pled, or

otherwise baseless and frivolous – and all of them must be dismissed, with prejudice. 3

                                   II.   STATEMENT OF FACTS

A.       The Debtors’ Floorplan Financing Fraud

         The essential facts demonstrating that Debtors themselves perpetrated a massive fraud are

undisputed. In fact, Debtors admit them in their Adversary Complaint. See Dkt. 1.4

         Before August 1, 2018, Ford Credit provided wholesale floorplan financing to the

Dealerships. See Dkt. 1 at ¶ 22. Ford Credit secured that financing with security interests in all

of the Dealerships’ assets, including, inter alia, their vehicle inventory, proceeds from sales of that

inventory, furniture, trade fixtures, and equipment, accounts, general intangibles, and contract

rights. See Case No. 18-50214-rlj-11, Claim 83-1, Part 2, Exhibits B, C, E, F, H, I, K, L. N, O, Q,

R, S, T (entered into evidence in Case No. 18-50214-rlj-11, Dkt. 854 at 10-11).

         In June 2018, as a result of vehicle inventory audits, and an analysis of sales and registration

data, Ford Credit discovered that Debtors were committing floorplan financing fraud. See Ford

Motor Credit Co. LLC v. Reagor, Case No. 5:18-cv-00186-c, Dkt. 1 at ¶¶ 185-96. That analysis

revealed that Debtors falsely reported sales data and, by doing so, delayed making required



3
       Ford Credit reserves its right to bring a motion pursuant to the Federal Rules of Civil Procedure
Rule 11 and Bankruptcy Rule 9011.
4
       Unless otherwise stated, docket citations are to the Adversary Proceeding, Case No. 20-05005-rlj.


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payments to Ford Credit. Id. at ¶¶ 186-87, 190. Ford Credit also learned that Debtors had engaged

in “double-flooring,” by submitting false information to get financing from Ford Credit on vehicles

they had floorplanned with another lender. Id. at ¶¶ 191-92. In other instances, Debtors submitted

false information to Ford Credit to obtain financing on already-sold vehicles. Id. at ¶ 193.

       Further inventory audits revealed each Dealership was out of trust, having sold vehicles

subject to Ford Credit’s security interests without remitting proceeds to Ford Credit. Id. at ¶ 195.

After that discovery, Debtors authorized electronic funds transfers (“EFTs”) to Ford Credit totaling

over $41 million dollars, which were subsequently returned for insufficient funds or because

Debtors stopped payment. Id. at ¶ 198.

       As of July 31, 2018, Debtors owed Ford Credit approximately $116,168,000.00. Id. at

¶¶ 199-200. On July 31, 2018, Ford Credit sued Debtors, seeking to sequester (and then liquidate)

collateral held by Debtors, and to recover any deficiency from Debtors and their guarantors. See

id. Debtors immediately filed for bankruptcy, temporarily staying those claims against them.

       Ford Credit has since pursued Debtors and their guarantors in both: (a) this Court; and (b)

the District Court, to recover amounts owed to it, and related damages, arising from Debtors’ fraud.

See Ford Motor Credit Co. v. Reagor, Case No. 5:18-cv-00186-C. Ford Credit remains the

Debtors’ largest secured and unsecured creditor, and the primary victim of Debtors’ fraud. See,

e.g., Case No. 18-50214-rlj-11, Dkt. 11 and Dkt. 421 at 22-23; USA v. Smith, Case No. 2:19-cr-

079-D-BR, Dkt. 11.      Having previously obtained lift-stay relief, and having liquidated its

collateral, Ford Credit is still owed over $45 million. See Ford Motor Credit Co. v. Reagor, Case

No. 5:18-cv-00186-C, Dkt. 49.

B.     The FBI’s Investigation and Criminal Charges

       In February 2018, after receiving an anonymous tip, the FBI began investigating Debtors’

fraud. See USA v. Smith, Case No. 2:19-cr-079-D-BR, Dkt. 11, at ¶ 7. The FBI investigation has


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resulted in multiple federal fraud and fraud-related charges against Debtors’ Chief Financial

Officer, Shane Smith, and at least thirteen (13) other employees of Debtors – all of whom have

already pled guilty. See id.5 Debtors’ employees have stipulated that they knowingly, and with

intent to defraud, obtained financing from Ford Credit by means of materially false representations

or pretenses, used wire communications in interstate commerce to do so, and engaged in an

extensive check-kiting scheme. The FBI’s investigation confirmed that Debtors’ fraud included:

                fraudulent requests for floorplan advances, including flooring
                vehicles they had already sold;

                selling vehicles out of trust and falsifying sales dates, and creating
                “false paperwork, sometimes referred to as ‘dummy shucks,’ on
                vehicles that were sold out of trust, to make it appear as though the
                vehicles had just recently sold and were not out of trust”; and

                double-flooring vehicles with Ford Credit and other lenders, to
                fraudulently obtain financing from more than one lender.

Id. at ¶¶ 11, 13-16, 18-20. As a result, Debtors were able to “give the appearance” that they were

not selling vehicles out of trust, and that they were “passing [their] audits.” Id. at ¶ 14. And, by

kiting checks, Debtors were able to make payoffs due after those audits. Id. at ¶ 24.

         At no time were any criminal charges brought against Ford Credit or any of its employees. 6


5
         See, e.g., USA v. Smith, No. 2:19-cr-079-D-BR, Dkt. 11 at ¶¶ 2, 7, 9, 11, 13-16; USA v. Williams,
No. 2:19-cr-118-Z, Dkt. 7; USA v. Wood, No. 2:19-cr-130-Z, Dkt. 8; USA v. Rickman, No. 2:19-cr-150-Z,
Dkt. 4; USA v. Fansler, No. 2:19-cr-159-Z, Dkt. 6; USA v. Dunn, No. 2:19-cr-170-Z, Dkt. 5; USA v.
Maldonedo, No. 2:19-cr-175-Z, Dkt. 6; USA v. Cabral, No. 2:19-cr-149-Z, Dkt. 5; USA v. Canady, No.
2:19-cr-187-Z, Dkt. 7; USA v. Urias, No. 2:19-cr-115-Z, Dkt. 8; USA v. Miller, No. 2:19-cr-116-Z, Dkt.
6; USA v. Johnston, No. 2:19-cr-126-Z, Dkt. 4; USA v. Neel, No. 2:20-cr-00012-BR, Dkt.7; see also Sara
Self-Warbrick, 14th Reagor Dykes Employee Pleads Guilty in Amarillo Federal Court, Amarillo Globe-
News, Mar. 24, 2020, https://www.amarillo.com/news /20200324/14th-reagor-dykes-employee-pleads-
guilty-in-amarillo-federal-court.
6
         Debtors’ unsupported accusation that Ford Credit was a willing participant in Debtors’ fraud has
already been refuted by Ford Credit, and rejected by the District Court. See Ford Motor Credit Co. LLC
v. Reagor, et al., Case No.: 5:18-cv-00186-C, Dkt. 36, 39, 42, 48 (refuting the same spurious allegation,
there alleged by Debtors’ principals, resulting in the Court rejecting attempts to use that allegation to
delay or oppose summary judgment). The admissions and guilty pleas by fourteen of Debtors’
employees – and absence of any charges against Ford Credit or its employees – confirm that Ford Credit
was a victim of Debtors’ fraud, not a willing participant in it.


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                            III.   ARGUMENT AND AUTHORITIES

                                               POINT I

          DEBTORS’ ADVERSARY COMPLAINT FAILS TO STATE A CLAIM

        Debtors allege seven causes of action: (1) avoidance of fraudulent transfers pursuant to 11

U.S.C. §§ 548(a)(1)(A) and 550; (2) equitable subordination of claims and transfer of subordinated

lien pursuant to 11 U.S.C. § 510(c); (3) surcharge pursuant to 11 U.S.C. § 506(c); (4) turnover

pursuant to 11 U.S.C. § 542(b); (5) avoidance of preferential transfers pursuant to 11 U.S.C. §§

547 and 550; (6) to determine extent and priority of Ford Credit’s lien on cash held by Debtors on

the petition date and paid to Ford Credit during the preference period; and (7) objection to claim

pursuant to 11 U.S.C. § 502(d). None of these causes of action states a claim upon which relief

can be granted, and they all should be dismissed, with prejudice.

        To satisfy the requirements of Rule 8, and survive a motion to dismiss, a complaint “must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)). The complaint must contain more than a “formulaic recitation of the elements

of a cause of action” or conclusory allegations or legal conclusions masquerading as factual

conclusions. Twombly, 550 U.S. at 555; Campbell v. City of San Antonio, 43 F.3d 973, 975 (5th

Cir. 1995) (complaint must contain direct factual allegations “on every material point necessary to

sustain a recovery . . . or contain allegations from which an inference fairly may be drawn that

evidence on these material points will be introduced at trial.”).

        On a motion to dismiss, the Court is “not bound to accept as true a legal conclusion couched

as a factual allegation.” Iqbal, 566 U.S. at 678-79. And, “‘when the allegations in a complaint,

however true, could not raise a claim or entitlement to relief, this basic deficiency should . . . be




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exposed at the point of minimum expenditure of time and money by the parties and the court.’”

Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (quoting Twombly, 550 U.S. at 558).

        A Bankruptcy Court considering a motion to dismiss an adversary proceeding “may

consider materials submitted as part of the complaint, items in the record, and [the] public

record.” In re Stangel, 222 B.R. 289, 291-92 (Bankr. N.D. Tex. 1998). The public record includes

documents filed in the bankruptcy case. In re Soporex, Inc., 446 B.R. 750, 764 n.12 (Bankr. N.D.

Tex. 2011) (citing R2 Invs., LDC v. Phillips, 401 F.3d 638 (5th Cir.2005)); see In re Holcomb,

2005 WL 6443634, at *1 n.3 (Bankr. N.D. Tex. Sept. 1, 2005). And “[s]tatements in bankruptcy

schedules are executed under penalty of perjury and when offered against a debtor are eligible for

treatment as judicial admissions.” In re Rollings, 456 Fed. App’x 340, 348 (5th Cir. 2011) (internal

quotations omitted); In re Jacobson, 2006 WL 2796672 (W.D. Tex. Sept. 26, 2006), aff’d 2007

WL 2141961 (5th Cir. July 26, 2007); In re 1701 Commerce, LLC, 511 B.R. 812, 829 (Bankr.

N.D. Tex. 2014).

        Here, all of Debtors’ claim are either barred as a matter of law or alleged in conclusory and

speculative fashion, lack factual support, and otherwise fail “‘to state a claim to relief that is

plausible on its face.’” Iqbal, 556 U.S. at 697 (quoting Twombly, 550 U.S. at 570); In re Great

Lakes Dredge & Dock Co., LLC, 624 F.3d 201, 210 (5th Cir. 2010); Ferrer v. Chevron Corp., 484

F.3d 776, 780 (5th Cir. 2007). And, because Debtors’ claims are barred as a matter of law, there

is “no set of facts” they can plead to overcome these fatal defects. Search Int’l., Inc. v. Snelling &

Snelling, Inc., 31 F. App’x 151 (5th Cir. 2001) (per curiam); Epie v. Neiman Marcus Direct, 2001

WL 585766, at *1 (N.D. Tex. May 29, 2001). 7



7
        Having had unfettered access to their own records and nearly two full years to bring their claims,
Debtors also cannot argue that discovery is necessary to sufficiently state their claims. Iqbal, 566 U.S. at
678-79 (Rule 8 “does not unlock the doors of discovery for a plaintiff armed with nothing more than


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                                               POINT II

               DEBTORS’ FRAUDULENT TRANSFER CLAIM IS BARRED
                    AS A MATTER OF BOTH LAW AND EQUITY

        Debtors are self-admitted fraudsters who engaged in a “scheme by which they artificially

propped up their failing businesses with funds from fraudulent loans and check kiting.” See Dkt.

1 at ¶ 3. Debtors admit this “created a vicious cycle” in which they required new funds “acquired

through fraudulent practices” to pay off “previous loans and replenish overdrawn accounts.” Id.

        Yet Debtors now seek to recover over $315 million in allegedly fraudulent transfers made

to Ford Credit – the creditor that, based upon Debtors’ own schedules, holds the largest total

unsecured claim against them. See Case No. 58-2014-rlj-11, Dkt. 421, 423, 425, 427, 429, 431. 8,9

Debtors’ own “Liquidation Analysis” estimates the value of all unsecured claims (apparently

excluding Ford Credit’s claim) as only $45,787,423 – less than 15% of the recovery they seek

from Ford Credit. See id., Dkt. 1390-3. Based upon Debtors’ analysis, the recovery sought by

Debtors would result in a windfall of almost $270 million for Debtors themselves. See id.

        Debtors’ fraudulent conveyance claim must be dismissed, in the first instance, because

transfers of collateral or proceeds of collateral to a secured creditor do not, as a matter of law,

constitute transfers of an interest of the debtor in property – and cannot support a fraudulent

conveyance claim. And, even assuming, arguendo, any portion of the transfers identified by

Debtors were to fall outside that bar, Debtors have still failed to allege a plausible fraudulent




conclusions.”). This is particularly true given the due diligence requirements of amended Bankruptcy
Code § 547(b) (which took effect on February 19, 2020) and Bankruptcy Rule 9011.
8
        The underlying merits of Ford Credit’s unsecured claim have already been litigated in the District
Court for the Northern District of Texas, where Ford Credit obtained a judgment of $49,280,709.59
against Debtors’ principal, Bart Reagor, after a contested jury trial. See Ford Motor Credit Co. LLC v.
Reagor, et al., Case No. 5:18-cv-00186-C, Dkt. 104.
9
        Ford Credit is also the single largest secured creditor of Debtors. See Case No. 18-50214-rlj-11,
Dkt. 1390 at 47-48.


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conveyance claim against Ford Credit and are otherwise equitably estopped from doing so.

A.      The Alleged Transfers to Ford Credit Cannot, as a Matter of Law, Support a
        Fraudulent Conveyance Claim

        Section 548(a)(1)(A) of the Code provides that, a trustee or debtor-in-possession “may

avoid any transfer . . . of an interest of the debtor in property . . . if the debtor voluntarily or

involuntarily . . . made such transfer . . . with actual intent to hinder, delay, or defraud any entity

to which the debtor was or became, on or after the date that such transfer was made or such

obligation was incurred, indebted.” 11 U.S.C. § 548(a)(1)-(a)(1)(A) (emphasis added). However,

this “avoidance power” is limited to transfers of “property of the debtor.” Begier v. IRS, 496 U.S.

53, 58 (1990); Matter of Maple Mortg., Inc., 81 F.3d 592, 595 (5th Cir. 1996).

        Because a debtor “does not own an equitable interest in property he holds in trust for

another, that interest is not ‘property of the estate.’” Begier, 496 U.S. at 58-59; Matter of Maple

Mortg., Inc., 81 F.3d at 595. Property subject to a creditor’s security interest is similarly excluded.

See Melamed v. Lake County Nat’l Bank, 727 F.2d 1399, 1402 (6th Cir. 1984); In re First All

Mortg. Co., 471 F.3d 977, 1008 (9th Cir. 2006); In re CyberCo Holdings, Inc., 382 B.R. 118, 139

(Bankr. W.D. Mich. 2008). Thus, “a debtor cannot fraudulently transfer to a creditor property that

has already been pledged to that creditor as collateral.” In re CyberCo, 382 B.R. at 139.

        The rationale behind these rules is simple: property transferred to a secured creditor would

not have been available to unsecured creditors absent the transfer and, consequently, the transfer

cannot – as a matter of law – harm other creditors or diminish the debtor’s assets. See In re

CyberCo, 382 B.R. at 134-142; see also In re First All. Mortg., 471 F.3d at 1008; Melamed, 727

F.2d at 1402; Ehrlich for Hoffmans Trade Grp. LLC v. Comm. Factors of Atlanta, 567 B.R. 684,

695 (N.D.N.Y. 2017). Therefore, when a debtor transfers property to a creditor that is subject to

the creditor’s security interest, there is no fraudulent transfer – as a matter of law – and “the intent



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with which the transfer was made is immaterial.” Melamed, 727 F.2d at 1402; see also In re First

All. Mortg., 471 F.3d at 1008-09; CyberCo, 382 B.R. at 134-42; Ehrlich, 567 B.R. at 695.

       CyberCo illustrates the application of these rules in a case involving allegations similar to

those made by Debtors. In CyberCo, the Trustee alleged that a bank (“Huntington”) received

preferential and fraudulent transfers from CyberCo, which were made with actual intent to hinder,

delay, or defraud its creditors. 382 B.R. at 123. The Trustee also alleged that CyberCo defrauded

lenders, and engaged in “a Ponzi scheme, using new loans to pay off old loans in an ever increasing

cycle of debt, all to the detriment of CyberCo’s creditors and ultimate financial ruin of CyberCo.”

Id. at 126. Huntington allegedly perpetuated that scheme “by intentionally overlooking numerous

warning signs,” and “cast a blind eye” because it was owed over $17 million. Id. at 127. CyberCo

also allegedly made “huge transfers to Huntington within the year preceding its bankruptcy with

the intention of hindering and delaying its other creditors.” Id. at 132-33.

       Huntington moved to dismiss, arguing that whatever it received “had to have been proceeds

from its collateral” because it had a security interest in all assets of CyberCo. Id. at 133.

Huntington also argued it was “irrelevant whether it was undersecured or not, for it in any event

received from CyberCo only what in effect already belonged to it because of its secured position,”

and no depletion of the estate occurred, “from the perspective of its other creditors . . ..” Id.

       The Court held that Huntington had a security interest in funds swept from CyberCo’s

accounts and transferred to Huntington. See id. at 134. As a result, those transfers did not diminish

CyberCo’s estate vis-à-vis other creditors because Huntington’s security interest had priority over

other creditors’ claims. See id. at 134-35. The Court also held that no transfer of an interest of the

debtor in property occurred because “Huntington was taking nothing more from CyberCo than its

own collateral.” See id. at 137. The Court dismissed the Trustee’s fraudulent conveyance claim,




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as a matter of law, because “a debtor cannot fraudulently transfer to a creditor property that has

already been pledged to that creditor as collateral.” Id. at 139.

        Here, Debtors judicially admitted that Ford Credit held first-priority security interests in

their assets by filing Schedules with this Court, under penalty of perjury, identifying Ford Credit

as a secured creditor with claims against each Dealership that were not listed as contingent,

disputed, or contested. See Case No. 18-50214-rlj-11, Dkt. 421 at 22, 423 at 23, 425 at 22, 427 at

23, 429 at 22, and 431 at 23; In re Rollings, 451 F. App’x at 348; see also In re Jacobson, 2006

WL 2796672; In re 1701 Commerce, 511 B.R. at 829.

        Moreover, this Court has already determined – after a contested, full-day evidentiary

hearing – that Ford Credit held properly-perfected, first-priority security interests in essentially all

of the Dealerships’ assets, including vehicles in their inventory. See Dkt. 865, 890.10 The Court

further affirmed those security interests in connection with the interim orders approving Debtors’

use of Ford Credit’s cash collateral. See Dkt. 30, 134, 192, 476, 567 and 764. Ford Credit’s

blanket security interests extended to, inter alia, proceeds of the sale of such vehicles as well as

all of the Dealerships’ accounts. There is also no dispute that Debtors were required by both law

and contract to hold proceeds from sales of vehicles in trust for Ford Credit. See, e.g., Chrysler

Credit Corp. v. Perry Chrysler Plymouth, Inc., 783 F.2d 480, 484 (5th Cir. 1986).11



10
        There is no dispute that Ford Credit properly perfected its first-priority security interest in
Debtors’ inventory, and the proceeds of the same, by filing its financing statements with the Texas
Secretary of State. See Texas Bus. & Comm. Code §§ 9.310, 9.312, 9.315, 9.322 and 9.324; see also
Case No. 18-50214-rlj-11, Dkt. 854 at 34-35.
11
        To the extent Debtors also seek to avoid payments to Ford Credit for amounts due to it on
vehicles traded-in by customers, those payments were made because Ford Credit held properly perfected,
purchase-money security interests in the traded-in vehicles. See Dkt. 854 at 34-35, 117; Dkt. 865, 890;
Texas Fin. Code §§ 348.408-409; Texas Penal Code § 32.34. There is no dispute that Ford Credit
perfected those security interests by recording its lien on their titles. See Texas Bus. & Comm. Code §
9.324; Texas Transp. Code § 501.111. Those security interests also are not (and cannot be) disputed –
and Debtors cannot state a plausible fraudulent conveyance claim based upon payments made to Ford
Credit to satisfy those liens.


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       For all of these reasons, Debtors cannot state a fraudulent conveyance claim against Ford

Credit based on the challenged transfers. See Matter of Maple Mortg., 81 F.3d at 595; Melamed,

727 F.2d at 1402; In re First All. Mortg., 471 F.3d at 1008; In re CyberCo, 382 B.R. at 139.

B.     Debtors’ Fraudulent Conveyance Claim is Inequitable, Contravenes the Purpose of
       Fraudulent Transfer Law, and Fails to Satisfy the Benefit the Estate Requirement

       1.      Debtors cannot satisfy § 550’s benefit of the estate requirement

       The purpose of Section 548 of the Bankruptcy Code “is to preserve assets of the bankruptcy

estate” for the benefit of its unsecured creditors. In re Feiler, 230 B.R. 164, 169 (B.A.P. 9th Cir.

1999); Matter of Tex. Gen. Petroleum Corp., 52 F.3d 1330, 1336 (5th Cir. 1995) (“The proceeds

recovered in avoidance actions should not benefit the reorganized debtor; rather, the proceeds

should benefit the unsecured creditors.”). But the reach of Section 548 is not unlimited.

       Under Section 550 of the Bankruptcy Code, there can be no recovery on a Section 548

fraudulent transfer claim unless the recovery is “for the benefit of the estate.” 11 U.S.C. § 550(a).

Where appropriate, “courts have denied or limited recovery based on the equitable principles

underlying the Bankruptcy Code and Section 550(a) in particular.” Crescent Res. Litig. Tr. ex rel.

Bensimon v. Duke Energy Corp., 500 B.R. 464, 481 (W.D. Tex. 2013).

       For example, the Fourth Circuit has explained that “a trustee or a debtor-in-possession of

a bankruptcy estate cannot maintain an avoidance action under § 548 unless the estate would be

benefitted by the recovery of the transferred property.” Wellman v. Wellman, 933 F.2d 215, 218

(4th Cir. 1991) (noting that courts addressing this issue have reached this conclusion “with

unanimity”). The court in Wellman held that the debtor-in-possession lacked standing to pursue a

Section 548 fraudulent transfer action because the action was not for the benefit of the estate but

rather “so that he could obtain a ‘massive surplus recovery’ for himself in addition to the surplus

distributed to him.” Id. at 219; see also Crescent Res. Litig. Tr., 500 B.R. at 482-83 (concluding



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that recovery on fraudulent transfer claims should be limited under Section 550, after considering

“the equitable impact of the Trust’s potential recovery,” where recovery would result in a “massive

windfall” in favor of creditors who were involved in the fraudulent transfers.)

       A massive windfall is exactly what Debtors seek here. This Court should reject Debtors’

attempt to benefit themselves at the expense, and to the significant detriment, of Ford Credit – their

primary victim, largest unsecured creditor, and the intended beneficiary of the Code’s avoidance

provisions. See Wellman, 933 F.2d at 218-19; see also In re Murphy, 331 B.R. 107, 122 (Bankr.

S.D.N.Y. 2005); Dunes Hotel Assocs. v. Hyatt Corp., 245 B.R. 492, 506 (D. S.C. 2000).

       2.      Avoidance claims that contradict the goals and purposes of the Bankruptcy
               Code are impermissible.

       An avoidance action under the Bankruptcy Code is also not permitted if it would be

contrary to the underlying purposes of the Code. Dunes Hotel Assocs., 245 B.R. at 497. In Dunes

Hotel, for example, the debtor-in-possession sued to avoid a leasehold interest and for turnover of

property, but the court held that avoidance would be improper because it would 1) conflict with

the fiduciary responsibilities of a debtor-in-possession, who “should act in the interests of the

creditors, not in its own interests,” 2) allow the debtor-in-possession – who was only remaining in

bankruptcy to avoid the lease – to “strike down a bilateral contract to the detriment of its only

remaining non-insider creditor,” and 3) provide the debtor-in-possession a windfall “in derogation

of the interests of” the creditor, which “is contrary to the purpose of the avoidance powers as

enunciated by numerous courts and commentators.” Id. at 506-08. An inequitable windfall is,

again, precisely what Debtors impermissibly seek here and this Court should again reject Debtors’

attempt to primarily benefit themselves. See Dunes, 245 B.R. at 497.




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C.      Ford Credit has an Absolute Defense to Debtors’ Fraudulent Conveyance Claim

        It is beyond dispute that the challenged transfers were in exchange for reasonably

equivalent value, as a matter of law. Debtors’ Adversary Complaint admits that Ford Credit

provided floorplan financing to the Dealerships, which was used to purchase new and used vehicle

inventory. Dkt. 1 at 6, ¶ 22. The payments Debtors seek to reclaim were made to satisfy resulting

obligations under their financing agreements with Ford Credit. Id. Because these payments were

made to satisfy an antecedent debt, they are reasonably equivalent value – as a matter of law. 11

U.S.C. § 548(d) (“‘value’ means property, or satisfaction or securing of a present or antecedent

debt of the debtor”); see In re Sharp Intern. Corp., 403 F.3d 43, 54 (2d Cir. 2005) (citation omitted)

(“[A] conveyance which satisfies an antecedent debt made while the debtor is insolvent is neither

fraudulent nor otherwise improper, even if its effect is to prefer one creditor over another.”).

        Debtors make no attempt to argue that Ford Credit did not provide value, and instead

implicitly acknowledge it was received. See Dkt. 1 at 2 (effectively admitting value was received;

challenging only Ford Credit’s “good faith”). Because Debtors admit they received value in

exchange for the challenged transfers, it would be inequitable, and an abuse of the bankruptcy

system, to permit their Section 548 claim against Ford Credit. See, e.g., Matter of Fairchild

Aircraft Corp., 6 F.3d 1119, 1127 (5th Cir. 1993) (“the recognized test is whether the investment

conferred an economic benefit on the debtor”) abrogated on other grounds, In re Dunham, 110

F.3d 286 (9th Cir. 1997). It would also be inequitable to allow Debtors to retain the value and

benefit of two-year’s worth of vehicles acquired using Ford Credit’s financing, but force Ford

Credit to return payments made to satisfy Debtors’ resulting debt to Ford Credit. 12

        There is no basis for such a manifestly inequitable result, and Debtors – who admittedly


12
        It is undisputed that the floorplan advances by Ford Credit to the Dealerships were for acquiring
vehicles that went into the Dealerships’ inventory. See Case No. 18-50214-rlj-11, Dkt. 854 at 35-36.


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orchestrated and perpetuated the very fraud that necessitated this bankruptcy – should not be

permitted to use a court of equity to profit from their own wrongdoing. 13

D.      Debtors’ Fraudulent Conveyance Claim is also Inadequately Pled

        To the extent Debtors allege, in purely conclusory fashion, that Ford Credit received

payments of proceeds from sales of its collateral, and “tens of millions of interest payments,”

Debtors have also failed to plead a plausible fraudulent conveyance claim. As this Court recently

recognized, a plaintiff alleging a fraudulent transfer claim under Section 548(a)(1)(A) must state

with particularity the “‘who, what, when, and where and why [of] the fraudulent conduct.’” See

Reagor Auto Mall, Ltd. v. FirstCapital Bank of Texas, N.A., No. 20-05002-rlj, Dkt. 35 at 19, 20-

24 (Bankr. N.D. Tex. August 24, 2020) (quoting In re Life Partners Holdings, Inc., 926 F.3d 103,

117 (5th Cir. 2019)); see also United States ex rel. King v. Alcon Labs., 232 F.R.D. 568, 570, 572

(N.D. Tex. 2005); E. Poultry Distribs., Inc. v. Yarto Puez, 2001 WL 34664163, at *1-2 (N.D. Tex.

2001). Consequently, the required element of actual intent under Section 548(a)(1)(A), may not

be presumed, and a plaintiff must allege “something more than just an intent to prefer one creditor

over another.” In re Lehman Bros. Holdings, Inc., 541 B.R. 551, 575 (S.D.N.Y. 2015); see also

In re Lyondell Chem. Co., 554 B.R. 635, 650 (S.D.N.Y. 2016); see generally In re Sullivan, 161

B.R. 776, 781 (Bankr. N.D. Tex. 1993).14 The plaintiff must, instead, sufficiently allege – in good-


13
         The Court also has authority under § 1107(a) to limit the power of a debtor-in-possession to assert
avoidance claims. See 11 U.S.C. § 1107 (a) (“Subject to any limitations on a trustee serving in a case
under this chapter, and to such limitations or conditions as the court prescribes, a debtor in possession
shall have all the rights, other than the right to compensation under section 330 of this title, and powers,
and shall perform all the functions and duties, except the duties specified in sections 1106(a)(2), (3), and
(4) of this title, of a trustee serving in a case under this chapter.”) (emphasis added).
14
         Debtors may attempt to argue they are entitled to a presumption of fraudulent intent based on a
characterization of their operations as a “Ponzi scheme.” (Dkt. 1 at ¶ 4). However, a Ponzi scheme is “a
fraudulent investment scheme in which money contributed by later investors is used to pay artificially
high dividends to the original investors, creating an illusion of profitability, thus attracting new
investors.” In re the Bennett Funding Grp., Inc., 439 F.3d 155, 157 n.2 (2d Cir. 2006). This Court has
already recognized that Debtors’ scheme, even to the extent it involved check-kiting, was not actually a
Ponzi scheme. See Reagor Auto Mall, Ltd. v. FirstCapital Bank of Texas, N.A., No. 20-05002-rlj, Dkt. 35


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faith and after appropriate diligence – that “the debtor . . . had an intent to interfere with creditors’

normal collection processes or with other affiliated creditor rights for personal or malign ends.”

In re Lehman Bros. Holdings, Inc., 541 B.R. at 575 (internal quotation marks and citation omitted).

        Here, Debtors make no effort to differentiate between payments of proceeds, customer lien

payoffs, and alleged “interest.” Instead, they simply allege that all net transfers to Ford Credit

during the two years prior to Debtors’ bankruptcy filing “should be avoided and recovered . . ..”

See Dkt. 1, at ¶ 6 and Ex. 1. And Debtors make no effort to plausibly allege how each type of

payment was, allegedly, fraudulent or intended to interfere with rights of other creditors. Instead,

they merely allege – in conclusory fashion – that Ford Credit turned a “blind eye” to Debtors’ own

“fraudulent practices” that “allowed Ford Credit” to be paid while other creditors “would never be

repaid . . ..” id. at ¶¶ 2, 26, 43. These conclusory allegations fail to provide the “who, what, when,

where, and why” required to state a plausible fraudulent conveyance claim.

                                              POINT III

   DEBTORS’ LACK STANDING TO ASSERT AN EQUITABLE SUBORDINATION
     CLAIM, AND CANNOT STATE SUCH A CLAIM AS A MATTER OF LAW

        Initially, Ford Credit submits Debtors’ equitable subordination claim fails because they are

not creditors or a trustee acting as a representative of creditors, and therefore lack standing to bring

such a claim. In re Weeks, 28 B.R. 958, 960 (Bankr. W.D. Okla. 1983) (Chapter 11 debtor lacks

standing to assert equitable subordination claim); see also In re Lockwood, 14 B.R. 374, 381




at 19 (Bankr. N.D. Tex. August 24, 2020). Debtors’ allegations against Ford Credit are even further
afield from what is required to plausibly allege a Ponzi scheme or qualify for a Ponzi scheme
presumption. See In re Pearlman, 440 B.R. 900, 904–05 (Bankr. M.D. Fla. 2010); see also Ehrlich, 567
B.R. at 693. And, even were the Court inclined to consider such an argument, the existence of a
presumption of fraudulent intent is not supported by the text of the Bankruptcy Code and has been
rejected in recent state court opinions in the analogous context of state law fraudulent transfer
claims. Janvey v. Golf Channel, Inc., 487 S.W.3d 560, 567 n.27 (Tex. 2016); Finn v. All. Bank, 860
N.W.2d 638, 647 (Minn. 2015).


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(Bankr. E.D.N.Y. 1981) (trustee is proper party to bring equitable subrogation claim); In re

Waggoner Cattle, LLC, 2019 WL 469367, at *8 (Bankr. N.D. Tex. Feb. 6, 2019) (creditor lacks

standing to bring equitable subordination claim absent “some particularized injury”). 15

        Debtors’ equitable subordination claim must also be dismissed because equitable

subordination is an “extraordinary remedy,” and, in the Fifth Circuit, is available only in three

“narrowly” drawn instances: (a) where the defendant is a fiduciary of the debtor and, as such, was

capable of disadvantaging other creditors; (b) where the defendant exercised control over the

debtor to the detriment of other creditors; and (c) where the defendant has itself defrauded other

creditors. See MCorp. v. Clarke, 755 F. Supp. 1402, 1416 (N.D. Tex. 1991). It is particularly

appropriate to dismiss an equitable subordination claim where the plaintiff fails to allege specific

conduct, in more than conclusory fashion, establishing that one of these instances applies. See In

re Life Partners Holdings, Inc., 926 F.3d 103, 122-23 (5th Cir. 2019); see also In re SI

Restructuring, Inc., 532 F.3d 355, 360 (5th Cir. 2008).

        It is undisputed that Ford Credit was never Debtors’ fiduciary and did not control them.

See In re U.S. Abatement Corp., 39 F.3d 556, 561 n.5 (5th Cir. 1994). All of the record evidence

in the bankruptcy case and Debtors’ own allegations are to the contrary – Debtors’ finances were

controlled by Mr. Smith, Debtors perpetrated a massive floorplan financing fraud on Ford Credit,

and, upon discovery of that fraud, Debtors filed for bankruptcy and came under the administration

of a chief restructuring officer (“CRO”). See Dkt. 1, at ¶ 30; USA v. Smith, Case No. 2:19-cr-079-

D-BR, Dkt. 11, at ¶¶ 8-10; In re Reagor-Dykes Motors, LP, Case No. 18-50214-rj11.



15
        Ford Credit acknowledges this Court held to the contrary in its recent decision in Reagor Auto
Mall, Ltd. v. FirstCapital Bank of Texas, N.A., No. 20-05002-rlj, Dkt. 35 at 19 (Bankr. N.D. Tex. August
24, 2020), but respectfully submits that the Court should revisit that holding because the decision in
Weeks, cited above, specifically holds that a Chapter 11 debtor does not have standing to bring an
equitable subordination claim. Ford Credit is otherwise preserving its appellate rights as to this issue.


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       Debtors make only conclusory allegations that Ford Credit engaged in “inequitable

conduct” that “resulted in injury to creditors” or conferred “an unfair advantage” on Ford Credit.

See Dkt. 1 at ¶ 65. Other than vague and conclusory allegations that “[t]he Debtors’ estates were

harmed by the diminution of the estates from the continuation of the Debtors’ scheme,” allegedly

“facilitated through payments to FMCC” (see id. at ¶ 57), the Adversary Complaint is also devoid

of factual allegations regarding the extent of harm allegedly suffered by any individual creditor.

       Such allegations are patently insufficient to state a plausible claim for equitable

subordination. See In re Life Partners Holdings, 926 F.3d at 122-23 (dismissing equitable

subordination claim where supporting allegations were “largely conclusory,” did not “allege facts”

regarding extent of harm “that any individual investor suffered” and stated only that defendants’

conduct resulted in “transfer of substantial value” to defendants “to the direct detriment” of other

investors). Debtors’ equitable subordination claim must, therefore, be dismissed.

                                            POINT IV

    DEBTORS CANNOT STATE A SURCHARGE CLAIM, AS A MATTER OF LAW

       Debtors’ surcharge claim, brought pursuant to 11 U.S.C. § 506(c), fails as a matter of law

because the estate has significant unencumbered assets, and multiple pending claims that may be

expected to generate still further unencumbered assets, sufficient to pay administrative expenses.

       A debtor’s administrative expenses must be satisfied, in the first instance, not from the

collateral of secured creditors, but from unencumbered assets of the estate. See In re Delta Towers,

Ltd., 924 F.2d 74, 76 (5th Cir. 1991); see also In re JKJ Chevrolet, Inc., 26 F.3d 481, 483 (4th Cir.

1994). Here, the estate has unencumbered assets, including a $7.5 million settlement payment

from Vista Bank. See Dkt. 1723, 1761. The estate also has twenty-nine (29) other adversary

proceedings pending, seeking to recover over $12 million in additional unencumbered funds. See

Associated Cases, In re Reagor-Dykes Motors, LP, Case No. 18-50214-rj11. Accordingly,


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Debtors have not, and cannot, plausibly allege a claim to surcharge Ford Credit for administrative

expenses. See In re JKJ Chevrolet, Inc., 26 F.3d at 483.

       Debtors’ surcharge claim must also be dismissed because a debtor-in-possession can only

recover administrative expenses out of a creditor’s collateral if they are: (1) necessary; 2)

reasonable; and 3) benefit that creditor. In re Domistyle, Inc., 811 F.3d 691, 695 (5th Cir. 2015).

To state a plausible claim for surcharge, Debtors must meet the high burden of establishing the

administrative expenses were “necessary,” were directly related to preserving or enhancing the

value of Ford Credit’s collateral, and provided a “direct” benefit to Ford Credit. Id. at 698; In re

Grimland, Inc., 243 F.3d 228, 232-33 (5th Cir. 2001). Where the only benefit is maintenance of

the debtor as a “going-concern,” administrative expenses are not entitled to surcharge. Precision

Steel Shearing, Inc. v. Fremont Fin. Corp. (In re Visual Indus., Inc.), 57 F.3d 321, 326 (3d Cir.

1995); see also In re Consol. Cotton Gin Co., 347 B.R. 572, 580 (Bankr. N.D. Tex. 2006) (taxes

paid by debtor for property needed to maintain its operations did not support a surcharge claim).

       Here, the claimed expenses did not provide a direct benefit to Ford Credit, and Debtors’

have not alleged any facts to the contrary. Instead, they merely allege, in conclusory fashion, that

they “expended at least $1,957,674 in reasonable necessary costs and expenses” of preserving “the

asserted collateral of Ford Credit.” Dkt. 1 at ¶ 68. Debtors’ list of expenses confirms that those

expenses consisted entirely of rent (paid to entities related to Debtors, who did not have written

leases) and property taxes. See Dkt. 1, Ex. 2; Case No. 18-50214-rlj-11, Dkt. 288 at 25-29, 59-66.

       Ford Credit sought stay relief on August 9, 2018. Dkt. 46. Debtors opposed that relief

and, over the next 8 months – the months for which they seek to surcharge Ford Credit – repeatedly

sought and obtained orders permitting them to use Ford Credit’s cash collateral to fund “normal

day-to-day expenses of Debtors’ operations such as payroll, office supplies, utilities, taxes, rents,




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and repairs and maintenance . . ..” id., Dkt. 8; see also id., Dkt. 30, 134, 192, 476, 567, 764; Dkt.

1, Ex. 2. This conclusively establishes both that Debtors were already allowed to use Ford Credit’s

cash collateral for the same expenses that they now seek to surcharge and that those expenses were

not for Ford Credit’s benefit. Instead, they served to maintain Debtors as a going concern while

Debtors tried to sell the Dealerships. Accordingly, Debtors have not stated, and cannot state, a

plausible surcharge claim – and that claim must be dismissed. See In re Grimland, 243 F.3d at

232-33; In re Consol. Cotton Gin, 347 B.R. at 580.16

                                                POINT V

             DEBTORS CANNOT STATE A PLAUSIBLE TURNOVER CLAIM

        Debtors’ turnover claim, pursuant to 11 U.S.C. § 542(b), must also be dismissed for failure

to state a claim. That claim is premised entirely upon a carve out in the cash collateral orders

entered on November 19, 2018 and December 31, 2018 for Trustee’s fees and Debtors’

“professional fees and expenses.” See Case No. 18-50214-rlj-11, Dkt. 567 at 19-20, 764 at 18-19.

The carve out was expressly limited to Trustee’s fees set forth in the interim budget and, “to the

extent allowed by the Bankruptcy Court”, the professional fees and expenses incurred by counsel

for Debtor and Debtor’s CRO from the Petition Date through the period covered by the Interim

Budget (as those terms are defined therein). See id., Dkt. 567 at 19. The carve out also provided,

however, that “nothing in this Interim Order shall be construed to impair the right of any party to

object to any fees, expenses, reimbursement or compensation sought by any such professionals or


16
         Debtors’ surcharge claim also fails, as a matter of law, because Ford Credit has a priority
administrative claim to the extent its collateral was diminished in the course of the Debtors’ bankruptcy
proceedings. See Case No. 18-50214-rlj-11, Dkt. 30 at 9-10, 134 at 10, 192 at 11, 476 at 10, 567 at 10-
11, and 764 at 10. Specifically, Ford Credit’s priority administrative claim, in the amount of at least $3.1
million, exists because Debtors were allowed to use Ford Credit’s cash collateral, were allowed to sell
other vehicles that were subject to Ford Credit’s security interests, and Ford Credit paid sales and use
taxes that would otherwise have been paid by the estate. See id., Dkt. 854 at 55-59; 1564 at ¶ 4. Ford
Credit is entitled to payment of its administrative priority claim first, before other administrative claims.


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any other person or entity.” See id. Thus, the carve out is neither automatic nor self-executing.

        Debtors were allowed to use Ford Credit’s cash collateral from August 8, 2018 through

January 5, 2019. See id., Dkt. 30, 764. During that time, Debtors submitted interim budgets

providing for payment of Trustee’s fees, and both counsel and CRO fees and expenses – funded

out of Ford Credit’s cash collateral. See, e.g., id., Dkt. 476, Ex. B. Absent Ford Credit’s consent,

the cash collateral orders permitted payment of those fees and expenses only as set forth in the

budgets (see, e.g., id., Dkt. 476 at 6), and sufficient cash collateral was provided to pay those

budgeted amounts. See, e.g., id., Dkt. 567, Ex B (showing budgeted amounts for Trustee Fees and

Professional Fees, and projecting positive ending cash balance). Now, having instead spent those

funds on operating expenses, Debtors allege, in conclusory fashion. that $1,604,443.83 of the carve

out “remains unfunded” by Ford Credit – without specifying the period over which that alleged

liability was supposedly incurred or providing any other factual support (see Dkt. 1 at ¶ 72).17

        Under these circumstances, Debtors have not and cannot state a plausible turnover claim

against Ford Credit because they have not alleged, and cannot allege, that Ford Credit “owes a

debt” that is property of the estate. See 11 U.S.C. § 542(b).

                                              POINT VI

          DEBTORS CANNOT STATE A PREFERENTIAL TRANSFER CLAIM,
                          AS A MATTER OF LAW

        Debtors have not alleged, and cannot allege, the elements of a preferential transfer claim.

Specifically, Debtors have not alleged, and cannot allege, that: (1) the alleged transfers affected

the Debtors’ interest in property; and (2) Ford Credit received more than it would have in a

hypothetical chapter 7 case. Debtors’ preferential transfer claim should therefore be dismissed.


17
         As discussed above, any amounts incurred for Trustee’s fees, and fees for Debtors’ counsel or
CRO, were not spent for Ford Credit’s benefit, depleted Ford Credit’s cash collateral by at least $3.1
million, allowed Debtors to continue day-to-day operations, and prolonged their death spiral.


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        The required elements of a preferential transfer claim are: (1) a transfer of the debtor’s

interest in property; (2) for a creditor’s benefit; (3) for or on account of an antecedent debt owed

by the debtor; (4) while the debtor was insolvent; (5) within 90 days of the debtor’s bankruptcy

filing; and (6) which enables the creditor to receive more than it would have (i) as a chapter 7

creditor, (ii) if the transfer had not been made, and (iii) if it had received payment under another

bankruptcy code provision. 11 U.S.C. § 547(b); see In re Life Partners Holdings, Inc., 926 F.3d

at 121-22; In re ReoStar Energy Corp., 2012 WL 3184726, at *4 n.6 (N.D. Tex. Aug. 3, 2012); In

re Tusa-Expo Holdings, Inc., 496 B.R. 388, 398 (Bankr. N.D. Tex. 2013), aff’d 2015 WL 935141

(N.D. Tex. Mar. 4, 2015), aff’d 811 F.3d 786 (5th Cir. 2016).

        Fully encumbered property, including funds held in trust by a debtor for the benefit of a

creditor, is not part of the debtor’s bankruptcy estate and is not generally available for distribution

to unsecured creditors. See In re Maple Mortg., Inc., 81 F.3d 592, 596-97 (5th Cir. 1996).

Therefore, a prepetition transfer of such funds is not a “transfer of the debtor’s interest in property”

or a preferential transfer. See id. (quoting Begier v. IRS, 496 U.S. 53, 58 (1990)).18

        Secured creditors are also broadly insulated from preferential transfer claims. See generally

In re El Paso Refinery, L.P., 171 F.3d 249, 253-54 (5th Cir. 1999) (“a creditor who recovers his

own collateral is not deemed to have recovered a greater percentage than he would have in

bankruptcy”). And a debtor’s prepetition transfers to secured creditors are not preferences if they

are: (1) applied by the creditor to reduce its secured claim against the debtor; or (2) are received

by the creditor from its own collateral. See In re Tusa-Expo Holdings, Inc., 811 F.3d at 792-94;

In re El Paso Refinery, LP, 171 F.3d at 254-55.


18
         The mere fact that a debtor may have, at one time, exercised a measure of control over trust funds
does not render those funds property of the bankruptcy estate. See id. Nor does the debtor’s “ability to
steal the [property] or use it for personal purposes in breach of duty.” In re UDI Corp., 301 B.R. 104,
114-15 (Bankr. D. Mass. 2003) (collecting cases, including Matter of Maple Mortg., Inc.).


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        In the first instance, Debtors’ claim must be dismissed, with prejudice, because Ford Credit

is insulated – as a matter of law – against a preferential transfer claim. 19 See Dkt. 1 at ¶¶ 33-35

(describing Debtors’ out-of-trust sales); see also Case No. 18-50214-rlj-11, Claim No. 83-1, Ex.

A, Ex. B. Debtors admit the challenged transfers include amounts subject to Ford Credit’s security

interests and held in trust for Ford Credit, including “wholesale floorplan payoffs” and “payoffs

of consumer accounts related to customer vehicles traded-in and financed by [Ford Credit].” See

Dkt. 1, Ex. 3, footnote 1. Dkt. 1, ¶¶ 74-76, Ex. 3 (describing “wholesale floorplan payoffs” and

“payoffs of consumer accounts related to customer vehicles traded-in and financed by [Ford

Credit].”) see also Case No. 18-50214-rlj-11, Claim No. 83-1, Ex. B (describing security interests

in, inter alia, proceeds of vehicles and other inventory).

        Debtors’ claim must also be dismissed because they merely allege in conclusory fashion,

that all transfers of cash to Ford Credit (or paid into Ford Credit’s “cash management accounts”)

between May 3, 2018 and August 1, 2018 were preferential transfers. See Dkt. 1, ¶ 74. Debtors’

fail to allege, however, that they had any interest in those funds – other than a conclusory and

unsupported claim that they “would have been otherwise unencumbered and available for

distribution to general unsecured creditors had the Debtors each filed chapter 7.” Id. Debtors also

fail to allege what Ford Credit, as an unsecured creditor, would have recovered in a Chapter 7

bankruptcy or that its recovery would have been less than the total amount of the challenged

transfers – and make no effort to match up the transfers with antecedent debt or identify the

particular transferors. See id. ¶¶ 75-76. These omissions also warrant dismissal of Debtors’ claim.

See, e.g., In re Life Partners Holdings, Inc., 926 F.3d at 121-22; Reagor Auto Mall, Ltd. v.


19
        As already discussed above, this Court affirmed Ford Credit’s status as a secured creditor in
granting Ford Credit’s motion for stay relief, after a full-day, contested evidentiary hearing. See Point II,
supra. And, for the reasons set forth in Point III, supra, Debtors’ claims that Ford Credit’s claim should
be subordinated to Debtors’ general unsecured creditors must be dismissed.


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FirstCapital Bank of Texas, N.A., No. 20-05002-rlj, Dkt. 35 at 17-18 (Bankr. N.D. Tex. August

24, 2020).

       In sum, the challenged transfers were not transfers of an interest in property of the debtor,

as a matter of law, and cannot support a preferential transfer claim. See In re Maple Mortg., Inc.,

81 F.3d at 596-97; In re Tusa-Expo Holdings, Inc., 811 F.3d at 792-94; In re El Paso Refinery LP,

171 F.3d at 254-55. Additionally, because Debtors have not alleged facts distinguishing transfers

of funds held in trust for Ford Credit from other amounts (see Dkt. 1, Ex. 3), their preferential

transfer claim must, again, be dismissed in its entirety. See generally In re Integra Healthcare

Holdings, Ltd., 2012 WL 4434680, at *5 (Bankr. E.D. Tex. Sept. 24, 2012) (allowing portions of

preferential transfer claims to survive motion to dismiss, but only where allegations distinguished

unrecoverable transfers).

                                            POINT VII

   DEBTORS’ “DETERMINATION OF LIEN” CLAIM FAILS TO STATE A CLAIM

       Debtors’ sixth claim seeks a declaration that Ford Credit had no lien “on any cash that was

paid to Ford Credit after May 3, 2018, including any cash held by the Debtors on the Petition

Date.” Dkt. 1 at ¶ 83. Debtors again fail to state a plausible claim.

       Again, this Court has already determined that Ford Credit had valid security interests in

essentially all of the Dealerships’ assets. See Case No. 18-50214-rlj-11, Dkt. 865, 890. The Court

did so after a full day, contested evidentiary hearing that included: (a) uncontroverted testimony

concerning Ford Credit’s security interests; and (b) admission into evidence of the Security

Agreements executed by each Dealership and Ford Credit’s UCC filings perfecting its security

interests. See id., Claim 83-1, Part 2, Exhibits B, C, E, F, H, I, K, L. N, O, Q, R, S, T (entered into

evidence in Case No. 18-50214-rlj-11, Dkt. 854 at 10-11). The Security Agreements gave Ford

Credit blanket security interests in the “Collateral,” which was defined to include, inter alia: “(a)


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All equipment, fixtures, furniture, demonstrators and service vehicles, supplies and machinery and

other goods of every kind; (b) All motor vehicles, tractors, trailers, service parts and accessories

and other inventory of every kind and any accessions thereto; (c) All accounts, instruments, chattel

paper, general intangibles, contract rights, documents and supporting obligations thereto” and all

products and proceeds therefrom. See, e.g., Claim 83-1, Part 2, Exhibit B. Ford Credit’s UCC

filings perfected its blanket security interests, which extended to cash proceeds as a matter of law.

In re Tusa-Expo Holdings, Inc., 811 F.3d at 794. Again, Debtors do not – and cannot – dispute that

Ford Credit held these security interests and properly perfected them. 20

        Debtors instead assert, in essence, that Ford Credit lost its security interest in proceeds

from the sale of its Collateral during the preference period because “Debtors do not believe it will

be possible for FMCC to trace and identify any cash proceeds.” See Dkt. 1 at ¶ 81. This conclusory

and speculative allegation is patently insufficient to state a plausible claim that Ford Credit had no

lien “on any cash that was paid to Ford Credit after May 3, 2018, including any cash held by the

Debtors on the Petition Date.” See id. at ¶ 83; In re Tusa-Expo Holdings, Inc., 811 F.3d at 794.

Besides being based on Debtors alleged “belief,” as opposed to facts, these allegations ignore that

it is the Debtors’ burden to show “that the source of any transfers from a debtor to a creditor was

not the proceeds of the creditor’s collateral.” Id. at 798. Debtors’ Adversary Complaint is

completely devoid of any factual allegations that payments made to Ford Credit during the

preference period came from anything other than the proceeds of Ford Credit’s Collateral. And

the record in Debtors’ bankruptcy proceedings demonstrates that any such payments necessarily

came from Ford Credit’s Collateral – because Debtors were not able to pay Ford Credit for $41


20
        Debtors effectively admitted that Ford Credit held such security interests by filing Schedules with
this Court, under penalty of perjury, identifying Ford Credit as a secured creditor with a claim against
each Dealership that was not listed as contingent, disputed, or contested. See Case No. 18-50214-rlj-11,
Dkt. 421 at 22, 423 at 23, 425 at 22, 427 at 23, 429 at 22, and 431 at 23.


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million dollars in vehicles discovered to have been sold out of trust during that period.

        Accordingly, Debtors have failed to state a plausible claim for the relief sought in Count

VI of their Adversary Complaint, and that claim must be dismissed.

                                               POINT VIII

                 DEBTORS CANNOT STATE A DISALLOWANCE CLAIM,
                             AS A MATTER OF LAW

        To state a viable “disallowance” claim pursuant to 11 U.S.C. § 502(d), Debtors must have

first established an adjudicated right to a turnover of assets. See In re Davis, 889 F.2d 658, 662

(5th Cir. 1989) (“This section is designed to be triggered after a creditor has been afforded a

reasonable time in which to turn over amounts adjudicated to belong to the bankruptcy estate”

(emphasis added)); In re IFS Fin. Corp., 2008 WL 4533713, at *3 (Bankr. S.D. Tex. Oct. 2, 2008)

(Section 502(d) applies only to creditors adjudicated to be “liable” and a claim pursuant to that

section cannot be maintained where allegedly fraudulent transfer is not “recoverable or

avoidable.”). Because Debtors have not established an adjudicated right to turnover (and cannot

do so), their “disallowance” claim should be dismissed. See, e.g., In re Lancelot Inv’rs Fund L.P.,

2012 WL 718631 at *9 (Bankr. N.D. Ill. Mar. 2, 2012) (dismissing “disallowance” claim where

trustee did not sufficiently plead a claim for fraudulent conveyance or turnover). 21

                                         IV.    CONCLUSION

        Based on the above, Ford Credit respectfully requests that the Court dismiss Debtors’

Adversary Complaint in its entirety, with prejudice, and grant such other and further relief to which

Ford Credit may show itself justly entitled.



21
         Debtors also cannot rely on Section 502(d) to seek “disallowance” of Ford Credit’s right to
recover administrative expenses. Section 502(d) applies only to “claims” that exist at the time of the
filing of the bankruptcy petition, and cannot deny a creditor recovery of post-petition administrative
expenses. See In re Rand Energy Co., 256 B.R. 712, 718-19 (Bankr. N.D. Tex. 2000).


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 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

               The undersigned hereby certifies that a copy of the foregoing was served on

August 26, 2020 upon all parties entitled to such notice as provided by the ECF filing system.



                                             /s/ Kevin M. Sadler
                                             Kevin M. Sadler




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